 

Case 2:20-cv-01958-AB Document 6 Filed 06/30/20 Page 1of1

 

ORIGIN ID:PNEA (610) 584-0700 SHIP DATE: 26JUN20
Maria Martin ACTWST: 0.98 LB
9024 Cressman Road CAD: 114479859/INET4220
Stopes f A 19474
Ippack,

UNIFED STATES, US BN

TO Foreign Minister Wang Yi $105840700 X 610584
Ministry of Foreign Affairs
Southeast Comer of Chao Yang Gate Express.
East Second Ring Road =
BEIJING, 100600 (CN) c
CHINA, CN =

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AWB

 

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INTL PRIORITY

REF: Smith

DESC1:Legal Documents

DESC2:

DESC3:

DESC4:

EEt: NO EEI 30.37 (a)

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COUNTRY MFG: US SIGN: Maria Martin
CARRIAGE VALUE: 0.06 USD TiC: $ 159381153
CUSTOMS VALUE: 1.00 USD DIT: S 159381153

 

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